                                              79C01 -201 0-PL-0001 33                                        Filed: 10/15/2020 12:35   PM
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                                               Circuit Court                                                Tippecanoe County, Indiana




STATE 0F INDIANA                                )
                                                                IN THE TIPPECANOE CIRCUIT    COURT

COUNTY OF TIPPECANOE                                            ESAUSE N0. 79C01-2010-PL—
                                                g




DAVID GOODRICH,

           PLAINTIFF,


V.
                                                VVVVVVVVVV




QuEEST GLOBAL SERVICEs-NA,
INC,

           DEFENDANT.

                                    COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff   David Goodrich brings                  this action against   QuEST Global Services—NA,

Inc. for Violation of the           Age    Discrimination in         Employment Act, 29     U.S.C. §621    et seq.



(”ADEA”). Goodrich             is   a 57 year old            male that QuEST terminated because 0f his age.

                                                               PARTIES

     1.    Goodrich     is   an individual     who resides in Tippecanoe              County, Indiana.

     2.    Goodrich worked           for   QuEST as an employee until August 5, 2019.

     3.    QuEST is an Ohio corporation doing business in Indiana.

     4.    Until his termination           0n August 5,          2019,   QuEST was Goodrich’s employer.

                                              JURISDICTION AND VENUE

     5.    This case involves a question of federal law over which state courts have


           concurrent jurisdiction.


     6.    This Court    is   a proper venue for this matter because the Defendant                    may be found

           in this judicial district        and because the          facts giving rise to this case   occurred in


           substantial part in this judicial district.
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                                     FACTS

7. Goodrich is over the age of 40.

8. Goodrich is part of the class of individuals protected by the ADEA.

9. On August 5, 2019, QuEST terminated Goodrich.

10. Goodrich’s termination was without cause.

11. At the time of his termination, Goodrich was meeting all of QuEST’s legitimate

   job expectations.

12. Prior to his termination, Goodrich had received favorable performance marks on

   his most recent performance review.

13. Prior to his termination, QuEST had paid bonuses, incentives, and salary

   increases to Goodrich because of his work performance.

14. QuEST told Goodrich that his separation was because of “organizational

   changes.”

15. QuEST did not make bona fide organizational changes to the Lafayette office at

   or around the time of Goodrich’s termination.

16. Instead, the only “organizational change” made to the Lafayette office was to

   remove Goodrich from it.

17. QuEST replaced Goodrich with a substantially younger employee.

18. Specifically, QuEST replaced Goodrich with the then-29 year old Andrew Paul.

                       COUNT I – VIOLATION OF THE ADEA

19. QuEST discriminated against Goodrich because of his age, in violation of the

   ADEA.
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20.   Goodrich has been harmed by QuEST’s unlawful conduct.

                                         PRAYER FOR RELIEF

      WHEREFORE Plaintiff David Goodrich demands judgment against QuEST for:

a)    Reinstatement t0 his position;


b)    His   lost   wages;


C)    The value      of his lost benefits   and perquisites      0f   employment;

d) Liquidated         damages;

e)    His attorney’s     fees;


f)    The   costs of this action;


g)    A11 other relief this Court determines to be necessary                 and proper.




                                                            / s/ Jason R. Ramsland
                                                            Jason Ramsland, #29443-29
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                                                            Attorney for     Plaintiff


                                      DEMAND FOR JURY TRIAL

      Plaintiff    demands   trial   by jury on   all   issues so triable.


                                                            / s/ Jason R. Ramsland
                                                            Jason R.   Ramsland (#29443—29)
